Case 1:04-cv-10981-PBS Document 1663-2 Filed 02/12/09 Page 1 of 6

EXHIBIT A
 

 

 

Case 1:04-cv-10981-PBS Document 1663-2 Filed 02/12/09 Page 2 of 6

IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
FIRST JUDICIAL DISTRICT OF PHILADELPHIA
CIVIL TRIAL DIVISION

GREGORY CLARK and LINDA : June Term 2004
MEASHEY,

Plaintiffs, : No. 1819

Vv.

PFIZER INC, and WARNER-LAMBERT_: Commerce Program
COMPANY, LLC, :

Defendants. : Control Nos. 061293/061291

OPINION

This class action is filed on behalf of plaintiffs Gregory Clark and Linda Meashey
(hereinafter “Plaintiffs”) and all other similarly situated purchasers of the drug Neurontin
or its generic equivalent, gabapentin, whose prescriptions were written for off label uses
not approved by the FDA. The class members bring claims for misrepresentation,
negligence, negligence per se and breach of express warranty seeking a refund of al] the
non-insured payments actually made. Presently before the court are Defendants Pfizer,
Inc. and Warner-Lambert Company, LLC’s motion for summary judgment and motion
for class decertification.

Defendants Pfizer, Inc. and Warner-Lambert Company, LLC developed the drug
Neurontin. In 1993, the Food and Drug Administration (“FDA”) approved Neurontin for
epilepsy treatment. In 2002, the FDA approved Neurontin for neuralgia. Physicians are
free to prescribe that medication for any condition that they believe to be appropriate
even if not FDA approved. This is known as off-label prescribing and although
permissible in the medical profession, federal law prohibits a drug manufacturer from

promoting off-label uses of an approved medication.

 
 

 

Case 1:04-cv-10981-PBS Document 1663-2 Filed 02/12/09 Page 3 of 6

Plaintiffs have produced evidence if believed, that demonstrates that beginning in
1995 defendants’ deliberately and unlawfully promoted Neurontin to physicians for “off-
label uses” for which effectiveness had not been scientifically demonstrated. Defendants
promoted Neurontin for off label uses by convincing the medical profession of
effectiveness for non FDA approved uses. They did this by soliciting anecdotal articles
for insertion in medica] journals, paying opinion leader physicians who prescribed off
label uses and sponsoring continuing medical education conferences which were actually
paid promotional events. Defendants created internal quarterly and annual goals,
objectives, strategies and tactics for increasing sales of off label uses of Neurontin and
had sales representatives ask doctors during details if they use other anti-epileptic drugs
for painful neuropathies. The promoted off label uses include psychiatric disorders, pain
syndromes, reflex sympathetic dystrophy (“RSD”), restless leg syndrome (“RLS”),
fibromyalgia, anxiety disorder and migraine headaches. In addition to promoting
Neurontin for off label uses, defendants also promoted uses above the maximum
approved dose Neurontin.

Defendants were criminally charged and entered into a plea agreement in the
Federal District Court of Massachusetts on charges of violations of Title 21 United States
Code Sections 331 (a), 331(d), 352(f)(1) and 335 (a). Defendants plead guilty to two
specific violations involving off-label marketing in 1995 and 1996. Defendants agreed to
a fine of $240 million and agreed to cease all attempts to promote off-label use.

Dr. Richard Brown, plaintiff Linda Meashey’s prescribing physician testified at
deposition that he relied upon fellow physicians, trade journals, articles, reference books

and medical] databases decided to prescribe Neurontin to plaintiff Meashey and his other

 
 

 

 

Case 1:04-cv-10981-PBS Document 1663-2 Filed 02/12/09 Page 4 of 6

patients. Dr. Brown identified Dr. Norman Sussman, a psychiatrist and Clinical
Professor of Psychiatry at New York University Medical School and Dr. Susan McElroy,
a psychiatrist and former classmate who practices and does research at the University of
Cincinnati as recommending Neurontin for anxiety disorders, an off label use. Dr.
Sussman had written an article discussing anxiety and Neurontin. Dr. McElroy had
published a study on the use of gabapentin in the treatment of bipolar disorder. Dr.
McElroy had received a grant and other research support from defendants.

Dr. Brown further testified that after seeing a Dateline program conceming
Neurontin he took his patients off Neurontin but subsequently represcribed Neurontin for
five patients because they had experienced worsening anxiety. Dr. Brown’s clinical
Judgment was that Neurontin was effective for these patients and the improvement in
their medical condition was not merely a placebo effect.

Ms. Meashey’s medical records demonstrate that she took Neurontin for a three
year period and had been tapered off Neurontin use as a result of the Dateline program.
Dr. Brown noted that she had gotten help with anxiety while on Neurontin.

Dr. Michael Okin, M.D. is plaintiff Gregory Clark’s treating physician. Dr. Okin
briefly prescribed Neurontin off label for plaintiff Clark however he was unable to
tolerate the medication. Dr. Okin testified that he prescribes Neurontin for peripheral
neuropathy, entrapment neuropathies and RSD and continues to prescribe Neurontin for

these conditions because in his clinical judgment it is effective.! Other physicians

 

' Dr. Okin deposition p. 34, 37, 41, 42 attached to Defendants’ Supplemental Brief in Support of Motion
for Decertification of the Class.

 

 
 

 

Case 1:04-cv-10981-PBS Document 1663-2 Filed 02/12/09 Page 5 of 6

testified that Neurontin is effective for the treatment of neuropathic pain, migraines
headaches, RSD, back pain and RLS and continues to prescribe it today.’

Plaintiffs’ class complaint presents a claim for breach of express warranty.
Plaintiffs’ class claims that defendants’ publication campaign expressly warranted that
Neurontin should be used in circumstances not approved by the FDA. An express
warranty is statutorily defined as any affirmation of fact or promise made by the seller to
the buyer which relates to the goods, any description of the goods and any sample or
model which is made part of the basis of the bargain.’ Here, there is no evidence that
plaintiffs saw, heard or in any way received any warranties that Neurontin could be used
in circumstances not approved by the FDA. The alleged fraud on the medical profession
which is the essence of plaintiffs’ claims does not create any warranty. Plaintiff's breach
of express warranty claim has not been proven and defendants’ motion for summary
judgment is granted as to this claim.

Plaintiffs’ class remaining claims are for misrepresentation, negligence and
negligence per se. Plaintiffs class claim that through defendants’ concerted activities
they incorrectly convinced that entire medical community of the effectiveness of off label
uses. The evidence reveals that some of the class members have suffered no injury. The
record demonstrates that some patients prescribed Neurontin for off label received a

medical benefit from Neurontin.* Class members who have benefited from off label use

 

? Dr. Fitzsimmons deposition p. 16, 17, 18. 20; Dr. Ahlstrom deposition p. 14, 16, 17, 18, 20; Dr. Graham
deposition p. 16, 17, 20, 21, 23, 25; Dr. Hoellein deposition p. 14, 15, 16; Dr. Norelli deposition p. 17, 18,
19, 20; Dr.Esper deposition 14, 15, 16, 17 attached to Defendants’ Supplemental Brief in Support of
Motion for Decertification of the Class.

713 Pa. CS. § 2313.

* Dr. Brown’s testimony p. 122 attached to Defendants’ Supplemental! Brief in Support of Motion for
Decertification of the Class.

 

 
 

 

 

 

Case 1:04-cv-10981-PBS Document 1663-2 Filed 02/12/09 Page 6 of 6

of Neurontin have suffered no injury and are not entitled to receive reimbursement of
their non-insured expenses. Defendants’ motion for summary judgment is granted as to
those class members who benefited from prescribed off label uses of Neurontin, denied as
to all class members who received no benefit from off label uses of Neurontin.

Defendants have also moved for class decertification, Since some class members
have benefited from the use of Neurontin and other class members have not benefited,
individual questions of fact are presented making the case unsuitable for class resolution.
Individual questions of fact exist as to each class member to determine whether their off-
label prescription of Neurontin was beneficial. Whether an individual class member
suffered a compensable loss is an inherently individualized question which predominates
making class resolution impracticable and possibly impossible. The motion for

decertification of the class is granted.°

BY THE COURT,

nd

f
/

   

Mi! ZAM |
MARKT BERNSTEIN Y

v

* In order fo demonstrate numerosity, a plaintiff must show more than just a large number of potential
plaintiffs, To satisfy this criterion, the class must be both numerous and identifiable. For the court to
determine if there are enough’class members to warrant a class action, the class definition must be clear
enough for the court to reasonably ascertain who the potential class members are. Without a clear class
definition it is impossible for the court to determine numerosity because the identity of the individuals to be
included in the class cannot be determined. The Pennsylvania Superior Court has held that "where the class
definition is so poorly established that the court cannot even discern who the potential class members are,
the numerosity criterion has not been met." Weismer v. Beech-Nut Nutrition Corp., 419 Pa, Super. 403,
408, 615 A.2d 428 (Pa. Super. Ct., 1992).

 

 
